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                         Exhibit 24
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Appendix A Table of Contents:

The Complainantl Interviews:
   1. The Complainant- February 16, 2015 (phone)
   2. The Complainant- February 23, 2015 (phone)
   3. The Complainant- April2, 2015 (in person)
   4. The Complainant- April28, 2015 (phone)
   5. The Complainant-July 17,2015 (phone)
The Respondent InterViews:
   1. The Respondent- March 3, 2015 (in person)
   2. The Respondent- April20, 2015 (in person)        '-..
                                                      ~
                    2
Witness Interviews:
   1. Ritchie Patterson -March 20, 2015 (in person) +
   2. Srivatsan "Vatsan" Chakram Sundar- March 20, ~nA      n)
   3. Yogesh Patil- March 20, 2015 (in person)       ~'

    ~: ~:::!:~:~!~:~c~ ~;;::~j;;:~;{in ~.
    6.           [Redac.ted] - Ap.ril2, 2015 (in P,~.··~'X~'"'
    7. Eliza Buhrer-Kapit- Aprll2, 2015 (          ~
    8. R~chel ~athis:.... .April9~ 20.15 (pho ·. .. · . ·
    9. Ehot Kap1t- Apnl9, 2015 (ph ·~ .
    10. Brittany Johnson- April10,
    11. Stefan Natu ~ April15, 2015
    12. Ian Spielman- April16, 2                n.
    13. Swati Singh -April16~,     .· . · h.o· e)
    14. Sunil Bhave- April] 2            ·. one)
    15. Scott Flanz-        '30, · 1      hone)
    16. Dan Stampe Kum            piil30, 2015 (phone)
    17. Kristina Go         - ay 4, 2015 (phone)
    18. Keith Schwab-         4, 2015(phone)
    19. Shannon Harvey-May 6, 2015 (phone)
    20. Daniel Ralph- May 6, 2015 (in person)
    21. Collin Reynolds- May 6, 2015 (phone)
    22. Lorraine Sadler-May 11,2015 (phone)
    23. Kasturi Saha -June 4, 2015 (phone)
    24. Gretchen Campbell-June 4, 2015 (phone)

1For ease of reading, consistency, and confidentiality, the parties are referred to by The
Complainant and The Respondent, students are referred to by their flrst names, and faculty are
referred to by their surnames.
2
  Witnessed whose names are in bold were included on The Complainant's witness list,
witnesses whose names are in italic were included on the The Respondent's witness list, and
witnesses whose names are neither were called by the interviewers.


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